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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


EXPERIENCE HENDRIX, LLC and AUTHENTIC
HENDRIX, LLC,
                                                                        17 Civ. 1927 (PAE)
                                       Plaintiffs,
                        -v-                                                   ORDER

 LEON HENDRIX, CARMEN COTTONE, and GREEN
 CURES AND BOTANICAL
 DISTRIBUTION, INC.,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       On October 19, 2020, plaintiffs filed a motion for an order of civil contempt against

defendant Leon Hendrix and non-parties Tina Hendrix and Hendrix Music Academy. Dkt. 468.

Accordingly, it is hereby ORDERED that defendant Leon Hendrix and non-parties Tina Hendrix

and Hendrix Music Academy shall serve any opposition to the motion by November 9, 2020.

Plaintiffs’ reply, if any, shall be served by November 16, 2020. At the time any reply is served,

the moving party shall supply the Court with courtesy copies of all motion papers via email to

EngelmayerNYSDChambers@nysd.uscourts.gov.

       Plaintiffs are to serve this order and their papers in support of their motion for an order of

civil contempt on defendant Leon Hendrix and non-parties Tina Hendrix and Hendrix Music

Academy forthwith and file proof of this service no later than October 26, 2020.

       SO ORDERED.
                                                              PaJA.�
                                                      __________________________________
                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: October 20, 2020
       New York, New York
